Case 2:09-cv-00683-KSH-PS Document 255 Filed 03/31/11 Page 1 of 13 PageID: 2625




 NOT FOR PUBLICATION

                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY


 NEW JERSEY SAND HILL BAND OF LENAPE
 AND CHEROKEE INDIANS, et al.,

                       Plaintiffs,
       v.
                                                              Civil Action No. 09-683 (KSH)


 STATE OF NEW JERSEY, et al.,                                            OPINION

                      Defendants.


 KATHARINE S. HAYDEN, U.S.D.J.

        The plaintiffs in this case, the New Jersey Sand Hill Band of Lenape and Cherokee

 Indians and its representative Ronald S. Holloway (collectively, ―plaintiffs‖), seek redress for the

 alleged conversion and misappropriation of their land and other property rights. In their Third

 Amended Complaint (―TAC‖), plaintiffs seek damages and various forms of equitable relief

 against the states of New Jersey, New York, and Pennsylvania (the ―State Defendants‖), as well

 as the United States government. [D.E. 187.]

 I. Factual and Procedural Background

        Because the Court writes only for the parties, and because the factual background of this

 case was previously recounted in an opinion filed on June 30, 2010 [D.E. 175], the Court only

 briefly states the facts and procedural evolution of the case, focusing on the TAC.

        This case has been energetically litigated for more than two years. Plaintiffs filed their

 initial complaint on February 17, 2009. [D.E. 1.] They filed an amended complaint six days

 later [D.E. 2] and subsequently applied for a temporary restraining order enjoining enforcement


                                                  1
Case 2:09-cv-00683-KSH-PS Document 255 Filed 03/31/11 Page 2 of 13 PageID: 2626




 of certain New Jersey laws and regulations related to their claims. [D.E. 5.] The Court denied

 the application on March 24, 2009. [D.E. 14.] Plaintiffs filed a partial amendment to the

 amended complaint on April 20, 2009 [D.E. 66], and then filed a complete Second Amended

 Complaint (―SAC‖) on May 22, 2009. [D.E. 88.] The SAC named as defendants the State of

 New Jersey, all 21 New Jersey counties, various state and county officials, and the New Jersey

 Commission on Indian Affairs. (SAC ¶¶ 21–47.) The defendants moved to dismiss the SAC

 [D.E. 97, 123], and the Court granted the motion in its June 30 opinion and accompanying order.

 Thereafter, plaintiffs filed the TAC, which again named the State of New Jersey a defendant, and

 for the first time pleaded claims against the United States1 and the states of New York and

 Pennsylvania. The TAC did not name any of the individual defendants or the county defendants.

          The TAC asserts four causes of action, one against each named defendant.2 Count 1

 alleges that New Jersey defrauded plaintiffs of their land by means of the Treaty of Easton in

 1758, specifically by plying plaintiffs‘ ancestors with alcohol before they signed the treaty.

 (TAC ¶¶ 41–47.) Count 2 alleges that Pennsylvania‘s ―Walking Purchase‖ in 1737 was also

 fraudulent. (Id. ¶¶ 52–55.) Count 3 claims that ―New York did coerce, trick, and/or force‖

 plaintiffs into selling the island of Manhattan for $24 in 1626. (Id. ¶¶ 60–64.) Finally, Count 4

 claims that the United States, as a successor in interest to the Dutch and British crowns—which

 actually carried out the above transactions, knowingly consented to the transactions and the State

 Defendants‘ unlawful occupations of land that rightfully belonged to plaintiffs‘ forebears. (Id. ¶¶

 69–75.) As a result of these actions, plaintiffs claim, the defendants have (1) enjoyed the

 benefits of their unlawful occupations—including monies from taxes, interest, fees, fines,


 1
   The SAC listed the United States in its caption, but did not plead any claims against the United States and was
 never served on the United States.
 2
   The TAC also pleads a fifth count against John and Jane Does and a sixth count that restates in general terms the
 allegations levied against the named defendants. (TAC ¶¶ 79–87.)

                                                           2
Case 2:09-cv-00683-KSH-PS Document 255 Filed 03/31/11 Page 3 of 13 PageID: 2627




 licenses, tolls, and profits (Id. ¶¶ 48, 56, 65, 76); (2) levied unconstitutional taxes (Id. ¶¶ 49, 57,

 66, 77); and (3) deprived plaintiffs of their ancestral homelands and sovereignty and forced

 plaintiffs to renounce their religion and culture. (Id. ¶¶ 50, 58, 67, 78.) Plaintiffs seek several

 forms of relief, including $27.6 billion in damages, the return of all illegally occupied lands and

 accompanying water rights, and various other species of equitable relief. (Id. Prayer for Relief.)

         The Court‘s dismissal of the SAC and the subsequent filing of the TAC led to a flurry of

 motion practice. Plaintiffs filed motions to (1) disqualify/recuse Judges Hayden and Schwartz,

 (2) set aside the Court‘s June 30, 2010 order, and (3) enter a default judgment against the United

 States. Defendants filed motions to dismiss. The Court addresses each in turn.

 II. Plaintiffs’ Motions to Disqualify/Recuse Judges Hayden and Shwartz and to Set Aside
 the Court’s June 30, 2010 Order3

         Plaintiffs move for the disqualification or recusal of the undersigned and U.S. Magistrate

 Judge Patty Shwartz. [D.E. 183.] The certification attached to the motion invokes the

 disqualification standards codified in 28 U.S.C. § 455(a) and (b)(1). (Richards Recusal Certif. ¶¶

 47–52.) Section 455(a) states that ―[a]ny justice, judge, or magistrate judge of the United States

 shall disqualify himself in any proceeding in which his impartiality might reasonably be

 questioned,‖ while § 455(b)(1) states that a judge shall disqualify herself ―[w]here [s]he has a

 personal bias or prejudice concerning a party, or personal knowledge of disputed evidentiary

 facts concerning the proceeding.‖ Another statute, 28 U.S.C. § 144, states that a judge must

 recuse herself when a party ―files a timely and sufficient affidavit‖ that the judge has a personal

 bias or prejudice against him. Under any standard, however, ―a party‘s displeasure with legal


 3
   The docket reflects that plaintiffs purported to file four motions: their ―First MOTION to Disqualify Judge Hayden
 and Shwartz, First MOTION to Reassign Case to unbiased judges, First MOTION for Recusal of Judge Hayden and
 Shwartz, [and] First MOTION to Set Aside Judgment of 6-30-10.‖ [D.E. 183.] The Court will treat these filings as
 two separate motions: one to disqualify the undersigned and U.S. Magistrate Patty Shwartz and one seeking relief
 from the June 30, 2010 order under Fed. R. Civ. P. 60(b)(4).

                                                          3
Case 2:09-cv-00683-KSH-PS Document 255 Filed 03/31/11 Page 4 of 13 PageID: 2628




 rulings does not form an adequate basis for recusal.‖ Securacomm Consulting, Inc. v. Securacom

 Inc., 224 F.3d 273, 278 (3d Cir. 2000). Plaintiffs‘ certification conveys displeasure with the

 Court‘s rulings and nothing more. It states no facts that suggest that either the undersigned or

 Magistrate Judge Shwartz have any bias or prejudice concerning any of the parties, or that either

 judge‘s impartiality might reasonably be questioned. Therefore, no cause exists to disqualify

 either the undersigned or Judge Shwartz, and plaintiffs‘ motion is denied.

        Plaintiffs also seek to ―set aside‖ the Court‘s order of June 30, 2010, which dismissed

 their SAC. [D.E. 176.] The motion states that the order should be deemed void under Fed. R.

 Civ. P. 60(b)(4), and asks the Court to reinstate plaintiffs‘ SAC. (Richards Recusal Certif. ¶¶

 45–46, 53.) The Court notes that simultaneous to the motion, plaintiffs filed a separate motion

 that also sought to reinstate the SAC [D.E. 182] and was later withdrawn. [D.E. 233, 235.]

 Because the only relief plaintiffs seek from the June 30, 2010, order is to reinstate the SAC, their

 decision to withdraw the motion to reinstate renders their motion to set aside the June 30, 2010

 order moot. Their quest for relief would have failed anyway. The Third Circuit has stated that a

 judgment or order may be void if the rendering court lacked jurisdiction over the subject matter

 or the parties or acted outside the powers granted to it by law. Marshall v. Bd. of Educ.,

 Bergenfield, N. J., 575 F.2d 417, 422 (3d Cir. 1978) (internal citations and quotations omitted).

 However, a judgment or order is not void merely because it is erroneous. Id. Plaintiffs make no

 pretense to argue that the Court was without power to issue the June 30, 2010, order. They

 simply disagree with the outcome. Therefore, relief under Rule 60(b)(4) is inappropriate.

 III. Plaintiffs’ Motion for Default Judgment Against the United States

        Plaintiffs also move for default judgment against the United States. [D.E. 234.] In this

 motion, plaintiffs contend that because the Court set an August 13, 2010, deadline for defendants



                                                  4
Case 2:09-cv-00683-KSH-PS Document 255 Filed 03/31/11 Page 5 of 13 PageID: 2629




 to respond to the TAC [D.E. 178], and the United States did not file its answer by that time, a

 default judgment is proper. The United States, on the other hand, maintains that it was not

 properly served, that the time for it to respond had not expired when plaintiffs filed the instant

 motion, and that plaintiffs have not established their claims by sufficient evidence. [D.E. 236.]

        First, Fed. R. Civ. P. 4(i) sets out the proper procedure for serving the United States

 government. The Rule requires the serving party to ―deliver a copy of the summons and of the

 complaint to the United States attorney for the district where the action is brought‖ and to ―send

 a copy of each by registered or certified mail to the Attorney General of the United States at

 Washington, D.C.‖ Fed. R. Civ. P. 4(i)(1). The docket reflects that on July 21, 2010, plaintiffs

 delivered a copy of the summons and TAC to the Attorney General, but did not do the same for

 the U.S. Attorney for the District of New Jersey. [D.E. 219.] Notably, plaintiffs did effect

 proper service on the U.S. Attorney for the District of New Jersey [D.E. 240] four days after the

 United States filed its opposition to this motion. [D.E. 236.] But, as of the time plaintiffs filed

 their motion for default judgment, they had not properly served the United States.

        Second, Fed. R. Civ. P. 12(a)(2) dictates the time within which the United States must

 answer a complaint. To wit, ―[t]he United States . . . must serve an answer to a complaint,

 counterclaim, or crossclaim within 60 days after service on the United States attorney.‖

 Therefore, even if plaintiffs had effected proper service on July 21, the United States still would

 have had until September 20 to answer. Plaintiffs argue that Judge Shwartz‘s order setting

 deadlines for filing the TAC and the defendants‘ answers to it obligated the United States to

 answer by August 13. [D.E. 234.] However, the United States was not a party to this action

 when Judge Shwartz filed her order and therefore could not be bound by it. See Doctor’s

 Assocs., Inc. v. Reinert & Duree, P.C., 191 F.3d 297, 302 (2d Cir. 1999); 11A Charles A.



                                                   5
Case 2:09-cv-00683-KSH-PS Document 255 Filed 03/31/11 Page 6 of 13 PageID: 2630




 Wright, et al., Federal Practice and Procedure § 2956, at 335 (2d ed. 1995) (―A court ordinarily

 does not have power to issue an order against a person who is not a party and over whom it has

 not acquired in personam jurisdiction.‖). In any event, the United States had no duty to respond

 to the TAC until plaintiffs properly served it on August 31. The United States timely filed a

 motion to dismiss in lieu of an answer on November 1. [D.E. 245.]

          Because the United States was not properly served and was not out of time when

 plaintiffs moved for default judgment, the Court need not address whether plaintiffs established

 their claim by sufficient evidence. The motion for default judgment is denied.

 IV. The United States’ Motion to Dismiss

          In lieu of an answer, the United States filed a motion to dismiss [D.E. 245] on the

 grounds that the Court lacks subject matter jurisdiction to hear plaintiffs‘ claims.4 See Fed. R.

 Civ. P. 12(b)(1). According to the United States, plaintiffs have failed to identify any statute

 under which the federal government has consented to be sued on the plaintiffs‘ claims. (United

 States Motion to Dismiss Moving Br. at 9.)

          ―[T]he United States is immune from suit unless it consents to be sued,‖ White-Squire v.

 U.S. Postal Serv., 592 F.3d 453, 456 (3d Cir. 2010) (citing United States v. Mitchell, 445 U.S.

 535, 538 (1980)), and because sovereign immunity is jurisdictional, a waiver is a prerequisite to

 a Court‘s power to hear claims against the government. In re Univ. Med. Ctr., 973 F.2d 1065,

 1085 (3d Cir. 1992). For a waiver to be effective, it must be ―unequivocally expressed‖ in a

 statute; in addition, any waiver ―must be construed strictly in favor of the sovereign.‖ Dolan v.

 U.S. Postal Serv., 377 F.3d 285, 287 (3d Cir. 2004) (quoting United States v. Bein, 214 F.3d 408,

 412 (3d Cir.2000)), rev’d on other grounds, 546 U.S. 481 (2006). Furthermore, the party

 4
   The United States also contends that plaintiffs‘ claims are non-justiciable and are barred by laches and the relevant
 statutes of limitations. (United States Motion to Dismiss Moving Br. at 14–24.) Because the Court finds that the
 United States is immune to suit, see infra, it need not consider any of these grounds.

                                                            6
Case 2:09-cv-00683-KSH-PS Document 255 Filed 03/31/11 Page 7 of 13 PageID: 2631




 bringing claims against the government ―bears the burden of showing an unequivocal waiver of

 immunity.‖ Global Fin. Corp. v. United States, 67 F. App‘x 740, 742 (3d Cir. 2003) (citations

 omitted).

          In this case, plaintiffs point to six statutes that they claim constitute waivers of sovereign

 immunity and give this Court subject matter jurisdiction: 28 U.S.C. §§ 1331, 1332, 1353, 1362,

 1366,5 and 1367. (TAC ¶ 2.)

          Sections 1331, 1332, and 1367 are general jurisdictional statutes. Under § 1331, federal

 courts ―have original jurisdiction of all civil actions arising under the Constitution, laws, or

 treaties of the United States.‖ However, this grant of jurisdiction does not waive the federal

 government‘s immunity to suit. Clinton County Comm’rs v. EPA, 116 F.3d 1018, 1021 (3d Cir.

 1997); see also Mack v. United States, 814 F.2d 120, 122 (2d Cir. 1987) (―Section 1331 is in no

 way a general waiver of sovereign immunity. Such a waiver, if it exists at all, must be sought in

 the statute giving rise to the cause of action.‖ (internal quotation and citation omitted)). Nor does

 a waiver arise out of § 13326 (diversity jurisdiction) or § 1367 (supplemental jurisdiction).

 United States v. Park Place Assocs., Ltd., 563 F.3d 907, 934 (9th Cir. 2009); Nishibayashi v.

 England, 360 F. Supp. 2d 1095, 1101 (D. Hawaii 2005); Raymond Proffitt Found. v. U.S. Army

 Corps of Eng’rs, 175 F. Supp. 2d 755, 775 n.11 (E.D. Pa. 2001); Desiderio v. Nat’l Ass’n of Sec.

 Dealers, Inc., 2 F.Supp.2d 516, 521–522 (S.D.N.Y. 1998).

          Section 1362 gives federal courts jurisdiction over ―all civil actions, brought by any

 Indian tribe or band with a governing body duly recognized by the Secretary of the Interior,



 5
   Section 1366 states that ―[f]or the purposes of this chapter, references to laws of the United States or Acts of
 Congress do not include laws applicable exclusively to the District of Columbia.‖ This provision is clearly
 inapplicable to this action.
 6
   Even if § 1332 did constitute a waiver of sovereign immunity, the Court could not have diversity jurisdiction over
 an action between the plaintiffs and the United States because ―the United States is not a citizen for diversity
 purposes.‖ Gen. Ry. Signal Co. v. Corcoran, 921 F.2d 700, 703 (7th Cir. 1991).

                                                           7
Case 2:09-cv-00683-KSH-PS Document 255 Filed 03/31/11 Page 8 of 13 PageID: 2632




 wherein the matter in controversy arises under the Constitution, laws, or treaties of the United

 States.‖ The purpose of the statute was to ―eliminate the $10,000 jurisdictional requirement of

 28 U.S.C. § 1331‖ for ―federal-question actions brought by an Indian tribe or band.‖ Scholder v.

 United States, 428 F.2d 1123, 1125 (9th Cir. 1970). Nevertheless, it does not constitute a waiver

 of sovereign immunity. Id. (―Nothing on the face of section 1362 indicates an intention by

 Congress to waive sovereign immunity, and we know nothing in its legislative history to suggest

 such a purpose.‖).

         One statute cited by plaintiffs—§ 13537—does act as a waiver of sovereign immunity,

 but it is a limited one. Scholder, 428 F.2d at 1126. Section 1353 states that ―district courts shall

 have original jurisdiction of any civil action involving the right of any person, in whole or in part

 of Indian blood or descent, to any allotment of land under any Act of Congress or treaty.‖ An

 allotment is ―a selection of specific land awarded to an individual allottee from a common

 holding.‖ Affiliated Ute Citizens of Utah v. United States, 406 U.S. 128, 142 (1972). The

 consent to suit embodied in the statute is therefore confined to ―certain kinds of suits designed to

 protect or preserve an allotment once issued.‖ Scholder, 428 F.2d at 1126; United States v.

 Pierce, 235 F.2d 885, 889 (9th Cir. 1956). It is not a means ―to determine title or possession to

 all Indian lands.‖ Brooks v. Nez Perce County, 394 F.Supp. 869, 873 (D. Idaho 1975). In this

 case, plaintiffs do not contend that they are entitled to an allotment under an act of Congress or

 treaty, nor do they contend that the United States is infringing on their interests or rights in an

 allotment they already hold. Therefore, § 1353‘s limited waiver does not encompass plaintiffs‘

 claims and does not give the Court power to entertain this action.




 7
  Section 1353 is a recodification of 25 U.S.C. § 345. Courts have analyzed both statutes interchangeably. See, e.g.,
 Scholder, 428 F.2d at 1126 n.2.

                                                          8
Case 2:09-cv-00683-KSH-PS Document 255 Filed 03/31/11 Page 9 of 13 PageID: 2633




        Though it goes unmentioned by plaintiffs, the Tucker Act also provides limited consent

 to suit. There are three relevant parts of the Act: 28 U.S.C. §§ 1346(a)(2), 1491(a)(1), and 1505.

 Section 1346(a)(2), also called the Little Tucker Act, vests the district courts and the U.S. Court

 of Federal Claims with concurrent jurisdiction over non-tort claims against the United States that

 do not exceed $10,000; it waives the government‘s sovereign immunity to the same extent.

 Chabal v. Reagan, 822 F.2d 349, 353 (3d Cir. 1987). Section 1491(a)(1), known as the Big

 Tucker Act, serves as a complement to § 1346; it gives the Court of Federal Claims exclusive

 jurisdiction over non-tort claims against the United States that exceed $10,000, and it also

 constitutes a limited waiver. McGuire v. United States, 550 F.3d 903, 910 (9th Cir. 2008).

 Finally, § 1505, called the Indian Tucker Act, gives the Court of Federal Claims exclusive

 jurisdiction over all non-tort claims brought by Native American tribes that accrue after August

 13, 1946. United States v. Navajo Nation, 129 S. Ct. 1547, 1551 (2009).

        None of the Tucker Act provisions set forth a sufficient waiver of immunity for plaintiffs

 to bring their claims in this Court. First, the waiver provided by § 1346 does not extend to

 damages claims that exceed $10,000, CNA v. United States, 535 F.3d 132, 143 n.5 (3d Cir. 2008)

 (―Subsection 1346(a)(2) sets a damages ceiling of $10,000 in its particular waiver of sovereign

 immunity.‖), nor does it cover claims for declaratory or injunctive relief, Richardson v. Morris,

 409 U.S. 464, 465 (1973). In this case, plaintiffs seek $27.6 billion in damages and various

 forms of equitable relief, most notably large tracts of land and water rights. (TAC Prayer for

 Relief.) None of this relief fits within the § 1346 waiver. In addition, §§ 1491 and 1505 grant

 exclusive jurisdiction to the Court of Federal Claims; therefore, the waivers articulated in those

 sections are limited to actions brought in that court. Burg v. U.S. Dep’t of Health and Human

 Services, 387 F. App‘x 237, 240 (3d Cir. 2010); McGuire, 550 F.3d at 911; see also Rosebud



                                                  9
Case 2:09-cv-00683-KSH-PS Document 255 Filed 03/31/11 Page 10 of 13 PageID: 2634




 Sioux Tribe v. United States, 75 Fed. Cl. 15, 26 (2007). They do not extend to actions

 commenced in this Court.

          In sum, neither the Tucker Act nor any of the statutes cited by plaintiffs unequivocally

 expresses a waiver of the United States‘ sovereign immunity. Therefore, this Court lacks subject

 jurisdiction over the plaintiffs‘ claims against the United States, whose motion to dismiss is

 granted.

 V. The State Defendants’ Motions to Dismiss

          The State Defendants all move to dismiss [D.E. 221, 229, 230] on several grounds.

 Principally, they contend that the Eleventh Amendment to the U.S. Constitution bars plaintiffs‘

 claims.8 (N.J. Reply Br. at 3; N.Y. Moving Br. at 3–9; Pa. Moving Br. at 3–5.)

          The Eleventh Amendment states that ―[t]he Judicial power of the United States shall not

 be construed to extend to any suit in law or equity, commenced or prosecuted against one of the

 United States by Citizens of another State, or by Citizens or Subjects of any Foreign State.‖ U.S.

 Const., Amend. XI. The Eleventh Amendment shields unconsenting states, state agencies, and

 state officers sued in their official capacities from lawsuits brought in federal courts by private

 parties, including Indian tribes and their members. See Idaho v. Coeur d’Alene Tribe, 521 U.S.

 261, 268–69 (1997) (―Under well-established principles, the Coeur d‘Alene Tribe, and, a

 fortiori, its members, are subject to the Eleventh Amendment.‖); Blatchford v. Native Village of

 Noatak and Circle Village, 501 U.S. 775, 782 (1991); Edelman v. Jordan, 415 U.S. 651, 662–63

 (1974). Nevertheless, ―[a] State‘s immunity from suit is not absolute.‖ Lombardo v. Pa. Dep’t

 of Pub. Welfare, 540 F.3d 190, 195 (3d Cir. 2008). ―Eleventh Amendment immunity is subject

 to three exceptions: (1) congressional abrogation; (2) state waiver; and (3) suits against

 8
   The remaining grounds for dismissal proffered by the State Defendants are catalogued in their briefs (N.J. Reply
 Br. at i; N.Y. Moving Br. at i; Pa. Moving Br. at i.) and need not be addressed in this opinion in light of the fact that
 the Court finds that the State Defendants are immune to suit, see infra.

                                                            10
Case 2:09-cv-00683-KSH-PS Document 255 Filed 03/31/11 Page 11 of 13 PageID: 2635




 individual state officers for prospective relief to end an ongoing violation of federal law.‖ MCI

 Telecomm. Corp. v. Bell Atl.-Pa., 271 F.3d 491, 503 (3d Cir. 2001). In addition, individual state

 officers may be sued for damages in their individual capacities. Hafer v. Melo, 502 U.S. 21, 30–

 31 (1991). Because no individual officers are named in the TAC, only the first and second

 exceptions are relevant to this motion to dismiss. (TAC ¶¶ 6–10.)

        A. Congressional Abrogation

        In limited circumstances, Congress may ―abrogate sovereign immunity and authorize

 suits against the states.‖ MCI, 271 F.2d at 503. For example, Congress may abrogate immunity

 when exercising its ―congressional power under § 5 of the Fourteenth Amendment to enforce the

 provisions of that amendment.‖ Id. Congress may not, however, ―abrogate state sovereign

 immunity when a statute is passed pursuant to its Article I powers, such as the Commerce

 Clause[.]‖ Id.; Seminole Tribe of Fla. v. Florida, 517 U.S. 44, 65 (1996).

        In the face of this clear statement of the law, plaintiffs steadfastly maintain that the Indian

 Commerce Clause, of its own force, abrogates state immunity. (Pls.‘ Opp‘n to State Motions to

 Dismiss at 23.) Moreover, plaintiffs suggest that ―this [C]ourt has chosen to err on the side of

 the defendant (instead of viewing this issue in the light most favorable to the plaintiff) in the face

 of conflicting decisions regarding whether or not Congress has the power under Article I to

 abrogate state immunity.‖ (Id.) First, the Court is not obligated to accede to plaintiffs‘ view of

 the law. See Fowler v. UPMC Shadyside, 578 F.3d 203, 210–11 (3d Cir. 2009) (―The District

 Court must accept all of the complaint‘s well-pleaded facts as true, but may disregard any legal

 conclusions.‖). Second, and more importantly, there is no conflict; the Supreme Court has

 clearly stated that Congress has no power under Article I to abrogate state sovereign immunity.

 Nev. Dep’t of Human Res. v. Hibbs, 538 U.S. 721, 727 (2003) (―Congress may not abrogate the



                                                  11
Case 2:09-cv-00683-KSH-PS Document 255 Filed 03/31/11 Page 12 of 13 PageID: 2636




 States‘ sovereign immunity pursuant to its Article I power over commerce.‖) (citing Seminole

 Tribe, 517 U.S. 44).

         Plaintiffs also assert that both the Supremacy Clause and 28 U.S.C. § 1362—which, as

 stated above, endows the federal courts with jurisdiction over cases brought by Native American

 tribes ―under the Constitution, laws, or treaties of the United States‖—abrogate state sovereign

 immunity. (Pls.‘ Opp‘n to State Motions to Dismiss at 27–28.) In fact, neither does. See In re

 Mitchell, 209 F.3d 1111, 1121 (9th Cir. 2000), overruled in part on other grounds, Kimel v. Fla.

 Bd. of Regents, 528 U.S. 62 (2000) (―[T]he Supremacy Clause dictates that federal law trumps

 state law, but does not itself abrogate state sovereign immunity in federal court: although a state

 may be bound by federal law, a private party is not entitled to utilize a federal court to determine

 a state‘s obligations.‖); Alden v. Maine, 527 U.S. 706, 732 (1999) (―The Constitution, by

 delegating to Congress the power to establish the supreme law of the land . . . does not foreclose

 a State from asserting immunity to claims arising under federal law merely because that law

 derives not from the State itself but from the national power.‖); Blatchford, 501 U.S. at 788 (―We

 conclude that neither under the current standard of Dellmuth nor under any standard in effect at

 the time of Parden was § 1362 an abrogation of state sovereign immunity.‖).

         Because plaintiffs have not pointed to a valid abrogation of state sovereign immunity

 under § 5 of the Fourteenth Amendment, this Court can only entertain the claims against the

 State Defendants if they have consented to suit.

         B. Waiver

         A state may voluntarily consent to suit and thereby waive sovereign immunity. MCI, 271

 F.3d at 503. The ―test for determining voluntariness is a stringent one‖ and requires that the state

 ―either . . . voluntarily invoke our jurisdiction by bringing suit . . . or . . . make a clear declaration



                                                    12
Case 2:09-cv-00683-KSH-PS Document 255 Filed 03/31/11 Page 13 of 13 PageID: 2637




 that it intends to submit itself to our jurisdiction.‖ Id. (citations and internal quotation marks

 omitted). Voluntariness requires the ―‗intentional relinquishment or abandonment of a known

 right or privilege.‘‖ Id. (quoting College Sav. Bank v. Fla. Prepaid Postsecondary Educ. Expense

 Bd., 527 U.S. 666, 681–82 (1999).

        Plaintiffs assert that ―the states waived any arguable immunity when they ratified the

 U.S. Constitution.‖ (Pls.‘ Opp‘n to State Motions to Dismiss at 20.) This statement is

 contradicted by 120 years of Eleventh Amendment jurisprudence. The Supreme Court has long

 recognized that the Eleventh Amendment did not imbue the states with an immunity that did not

 previously exist, but merely reaffirmed the inherent immunity states have always possessed.

 Seminole Tribe of Fla. v. Florida, 517 U.S. 44, 54 & n.7 (1996) (―For over a century we have

 reaffirmed that federal jurisdiction over suits against unconsenting States ‗was not contemplated

 by the Constitution when establishing the judicial power of the United States.‘‖ (quoting Hans v.

 Louisiana, 134 U.S. 1, 11–15 (1890) and citing two dozen cases restating the proposition)). The

 State Defendants did not initiate this litigation and have not otherwise waived their Eleventh

 Amendment immunity. The claims against them are dismissed.

 VI. Conclusion

        For the foregoing reasons, the Court denies plaintiffs‘ motions to disqualify/recuse

 Judges Hayden and Shwartz, denies plaintiffs‘ motion to set aside the June 30, 2010, order,

 denies plaintiffs‘ motion for default judgment against the United States, and grants the

 defendants‘ motions to dismiss the Third Amended Complaint.



                                                                /s/ Katharine S. Hayden
        March 31, 2011                                          Katharine S. Hayden, U.S.D.J.




                                                   13
